Case 4:22-cv-12153-SDK-DRG ECF No. 19-1, PageID.1263 Filed 02/27/23 Page 1 of 1




                         INDEX OF EXHIBITS

    Exhibit   Description

       A       Carter v. DTN Mgmt. Co., --- N.W.2d ---, 2023 WL 439760
               (Mich. Ct. App. Jan. 26, 2023)

       B       Wheaton v. Apple Inc., Case No. 19-cv-02883, dkt. 51 (N.D. Cal.
               Sept. 20, 2019) (defendant’s reply in support of motion to
               dismiss)

       C       Declaration of Plaintiff Ronald Allix
